                        Case 4:19-cr-00572-KGB Document 677 Filed 06/24/22 Page 1 of 7
AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet I



                                             UNITED STATES DISTRICT COURT                                                 JUN 2 4 2022
                                                           Eastern Dis~ct of Arkansas                           ;AMMY H.      DOWNSa~
              UNITED STATES OF AMERICA                                    )         JUDGMENT IN A~RIMINAL CA~~CLERK
                                   V.                                     )
                  COLUNTAE DEVON SMITH                                    )
                                                                          )         Case Number: 4:19-cr-00572-14 KGB
                                                                          )         USM Number: 33156-009
                                                                          )
                                                                          )          TAMERA DEAVER
                                                                          )         Defendant's Attorney
THE DEFENDANT:
~ pleaded guilty to count(s)            1s
                                    ----------------------------------
□   pleaded nolo contendere to count(s)
    which was accepted by the court.
D was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                         Offense Ended
21 U.S.C. § 841 (a)(1)            Conspiracy to Distribute and Possess with Intent to                       10/31/2019               1s

and (b)(1 )(C)                    Distribute Fentanyl, a Class C Felony



       The defendant is sentenced as provided in pages 2 through                7          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)

ii Count(s)       1                                     !if   is   Dare dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any chan_ge ofname, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the court and United States attorney of material clianges in economic circumstances.

                                                                                                           6/23/2022
                                                                         Date oflmposition of Judgment




                                                                         Signatureofudge




                                                                          Kristine G. Baker, United States District Judge
                                                                         Name and Title of Judge



                                                                         Date
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AO 2458 (Rev. 09/19) Judgment in Criminal Case
                      Sheet 2 - Imprisonment
                                                                                                  Judgment - Page   _2=---   of   7
 DEFENDANT: COLUNTAE DEVON SMITH
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                                                          IMPRISONMENT
           The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
 total term of:
  Time served.




      D The court makes the following recommendations to the Bureau of Prisons:




      D The defendant is remanded to the custody of the United States Marshal.

      D The defendant shall surrender to the United States Marshal for this district:
           D at                                  D a.m.      D p.m.       on
                     ---------
           D as notified by the United States Marshal.

      D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           D before 2 p.m. on
           D as notified by the United States Marshal.
           D as notified by the Probation or Pretrial Services Office.


                                                                RETURN
 I have executed this judgment as follows:




           Defendant delivered on                                                       to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                                UNITED STATES MARSHAL


                                                                         By
                                                                                             DEPUTY UNITED STATES MARSHAL
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AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 3 - Supervised Release
                                                                                                         Judgment-Page     3      of _ _7__
DEFENDANT: COLUNTAE DEVON SMITH
CASE NUMBER: 4:19-cr-00572-14 KGB
                                                       SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:

 Three (3) years.




                                                      MANDATORY CONDITIONS
I.    You must not commit another federal, state or local crime.
2.    You must not unlawfully possess a controlled substance.
3.    You must refrain from any unlawful use ofa controlled substance. You must submit to one drug test within 15 days of release from
      imprisonment and at least two periodic drug tests thereafter, as determined by the court.
                 D The above drug testing condition is suspended, based on the court's determination that you
                     pose a low risk of future substance abuse. (check if applicable)
4.     D You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
             restitution. (check ifapplicable)
5.     li'.f You must cooperate in the collection of DNA as directed by the probation officer. (check ifapplicable)
6.     D You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
             directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
             reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.     D You must participate in an approved program for domestic violence. (check ifapplicable)
You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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AO 2458 (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 3A - Supervised Release
                                                                                                                      4
                                                                                                Judgment-Page - - ~ - - 0r _ _ _1_ __
DEFENDANT: COLUNTAE DEVON SMITH
CASE NUMBER: 4:19-cr-00572-14 KGB

                                       STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

l.     You must report to the probation office in the federal judicial district where you are authoriz.ed to reside within 72 hours of your
       release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
       frame.
2.     After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
       when you must report to the probation officer, and you must report to the probation officer as instructed.
3.     You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
       court or the probation officer.
4.     You must answer truthfully the questions asked by your probation officer.
5.     You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
       arrangements (such as the people you live with), you must notify the probation officer at least IO days before the change. Ifnotifying
       the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
       hours of becoming aware of a change or expected change.
6.     You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
       take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.     You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
       doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
       you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
       responsibilities), you must notify the probation officer at least IO days before the change. If notifying the probation officer at least IO
       days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
       becoming aware of a change or expected change.
8.     You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
       convicted ofa felony, you must not knowingly communicate or interact with that person without first getting the permission of the
       probation officer.
9.     If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
l 0.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
       designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11.    You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
       first getting the permission of the court.
12.    If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
       require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
       person and confirm that you have notified the person about the risk.
13.    You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview ofProbation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                     Date
                                                                                                                 ------------
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AO 2458 (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet JD- Supervised Release
                                                                                           Judgment-Page    5     of      7
DEFENDANT: COLUNTAE DEVON SMITH
CASE NUMBER: 4:19-cr-00572-14 KGB

                                         SPECIAL CONDITIONS OF SUPERVISION
 The defendant must participate, under the guidance and supervision of the probation office, in a substance abuse
 treatment program which may include drug and alcohol testing, outpatient counseling, and residential treatment. Further,
 he must abstain from the use of alcohol throughout the course of treatment. He shall pay for the cost of treatment at the
 rate of $10 per session, with the total cost not to exceed $40 per month, based on ability to pay as determined by the
 probation office. If he is financially unable to pay for the cost of treatment, the co-pay requirement will be waived.

 The defendant must disclose his substance abuse history to prescribing physicians and must allow the probation office to
 verify disclosure.

 The defendant must participate, under the guidance and supervision of the probation office, in a mental health treatment
 program. He shall pay for the cost of treatment at the rate of $1 0 per session, with the total cost not to exceed $40 per
 month, based on ability to pay as determined by the probation office. If he is financially unable to pay for the cost of
 treatment, the co-pay requirement will be waived.
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AO 2458 (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet S - Criminal Monetary Penalties
                                                                                                     Judgment- Page       6    of         7
 DEFENDANT: COLUNTAE DEVON SMITH
 CASE NUMBER: 4:19-cr-00572-14 KGB
                                                CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                       Assessment               Restitution                                   AVAA Assessment*            JVT A Assessment**
 TOTALS           $    100.00               $                       $                     $                           $



 D    The determination of restitution is deferred until       -----
                                                                          . An Amended Judgment in a Criminal Case (AO 245C) will be
      entered after such determination.

 D    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless s~cified otherwise in
     the priority or~er or perc~ntage payment column below. However, pursuant to 18U.S.C. § 3664(1), all nonfederal victims must be paid
     before the Umted States 1s paid.

 Name of Payee                                                  Total Loss***             Restitution Ordered         Priority or Percentage




 TOTALS                               $                          0.00        $.                      0.00
                                          ---------                             ----------


 D     Restitution amount ordered pursuant to plea agreement $
                                                                         ----------
 D     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 D     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       D the interest requirement is waived for the             D fine   D restitution.
       D the interest requirement for the           D    fine    D restitution is modified as follows:

 * Amy, VickyVand Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
 ** Justice for ictims of Trafficking A.ct of 2015, Pub. L. No. 114-22.
 *** Findings for the total amount oflosses are required under Chapters 109A, 110, I IOA, and 113A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23, 1996.
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                       Judgment in a Criminal Case
                       Sheet 6 - Schedule of Payments
                                                                                                       Judgment - Page   _..__7_   of       7
 DEFENDANT: COLUNTAE DEVON SMITH
 CASE NUMBER: 4:19-cr-00572-14 KGB

                                                        SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A     Ill    Lump sum payment of$ _1~0~0~.0~0~--- due immediately, balance due

              D    not later than                                , or
              D    in accordance with    □    C,    D D,      D E,or       D Fbelow; or
 8     D Payment to begin immediately (may be combined with              D C,       D D, or      D F below); or
 C     D Payment in equal          _____ (e.g., weekly, monthly, quarterly) installments of $ _ _ _ over a period of
             _ _ _ _ _ (e.g., months or years), to commence
                                                          _____ (e.g., 30 or 60 days) after the date of this judgment; or

 D     D Payment in equal      _____ (e.g., weekly, monthly, quarterly) installments of $ _ _ _ over a period of
             _ _ _ _ _ (e.g., months or years), to commence _____ (e.g., 30 or 60 days) after release from imprisonment to a
              term of supervision; or

 E     □      Payment during the term of supervised release will commence within _____ (e.g., 30 or 60 days) after release from
              imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F     D Special instructions regarding the payment of criminal monetary penalties:




 Unless the court has expressly ordered otherwise, if this jud~ent imposes imprisonment, payment ofcriminal mone!arY penalties is due during
 the period of imprisonment. All criminal mone~ ~nalties, except those payments made through the Federal Bureau of Prisons' Inmate
 Financial Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



 D Joint and Several
       Case Number
       Defendant and Co-Defendant Names                                               Joint and Several             Co~sponding_ Payee,
       (including defendant number)                       Total Amount                     Amount                      1f appropnate




 D     The defendant shall pay the cost of prosecution.

 D     The defendant shall pay the following court cost(s):

 D     The defendant shall forfeit the defendant's interest in the following property to the United States:



 Payments shall be applied in the following order: (I) assessment, (2) restitution princ9?al, (3) restitution interest, (4) AVAA assessment,
 (5J fine principal, (6) fine interest, (7) community restitution, (8) NTA assessment, ('J) penalties, and (IO) costs, mcluding cost of
 prosecution and court costs.
